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   IT IS HEREBY ADJUDGED and DECREED that the
   below described is SO ORDERED.


   Dated: July 17, 2023.

                                                           ________________________________________
                                                                      MICHAEL M. PARKER
                                                              UNITED STATES BANKRUPTCY JUDGE
   ________________________________________________________________




                       UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION
   ______________________________________
   In re:                                 Chapter 11

   HIGHPOINT LIFEHOPE SPE, LLC,                         Case No. 22-50929-mmp

                       Debtor
   ______________________________________

           ORDER GRANTING DEBTOR’S FIRST OMNIBUS MOTION TO ASSUME
              UNEXPIRED LEASES UNDER WHICH DEBTOR IS LANDLORD


            CAME ON for consideration the First Omnibus Motion to Assume Unexpired Leases

   Under Which Debtor Is Landlord (“Motion”) filed by Highpoint Lifehope SPE, LLC, Debtor

   and Debtor-in-Possession in the above-captioned case (“Debtor”).

            The Court, having considered the Motion, any objections thereto, the evidence and

   testimony elicited at the hearing on the Motion, the record in this case, and the argument and

   representation of counsel the Court finds that: (a) it has jurisdiction over the Motion pursuant to

   28 U.S.C. § 1334 and the Standing Order of Reference; (b) consideration of the Motion is a core


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   proceeding pursuant to 28 U.S.C. §157; (c) notice of the Motion was appropriate; and (d) the

   legal and factual basis set forth in the Motion establish just cause to grant the relief requested in

   the Motion. Accordingly, it is

             ORDERED that the relief requested in the Motion is GRANTED as modified herein; it is

   further

             ORDERED that the Tenant Leases set forth on Exhibit 1 hereto are assumed; it is further

             ORDERED that the allowed cure payments and conditions of assumption for certain

   leases are modified as followed:

             A. Qualfon Group was owed a cure payment in the amount of $62,029.30 for post-

                 petition expenses incurred for janitorial services. Per agreement with the Debtor, this

                 cure payment was effectuated through reduced rental payments from December 2022

                 to March 2023. The amount has been cured in full. Late fees in the amount of

                 $5,591.40 demanded by the Debtor have been waived pursuant to this agreement.

             B. Office Ally. The lease will be assumed, but modified as follows. Office Ally will

                 pay rent in the amount of $41,741 per month through August 31, 2023. Office Ally

                 will vacate the premises by July 31, 2023, and the Lease will be terminated effective

                 July 31, 2023. Office Ally will pay the Debtor a one-time termination fee of $25,000

                 by July 31, 2023. Upon completion of the terms of this agreement, neither Office

                 Ally nor the Debtor will have any remaining obligations under the Lease to each other

                 or to any other party in interest in this bankruptcy case. Office Ally will withdraw its

                 objection to the Motion and its Motion for Relief from Automatic Stay.

             C. San Antonio Preventative & Diagnostic Medicine (“SAPDM”). The lease will be

                 assumed but modified as follows. The lease termination date will be modified to




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                 December 31, 2023.       SAPDM will pay its normal monthly lease rent through

                 December 31, 2023. SAPDM may vacate the premises any time before December 31,

                 2023, but vacating the premises will not relieve SAPDM of its rent obligations

                 through December 31, 2023. SAPDM will pay a lease termination fee of $175,000 in

                 two payments -- $87,500 due within 14 days of entry of this order and $87,500 due to

                 Debtor or its assignee prior to December 31, 2023. SAPDM may extend its lease

                 through March 31, 2024 by notifying Debtor or its assignee of its election to exercise

                 the option (including the length of the extension) in writing on or before September

                 30, 2023. SAPDM will withdraw its objection to the Motion and will not object to

                 any sale motion, disclosure statement, or chapter 11 plan filed by the Debtor.

                 SAPDM and Debtor mutually release any and all other claims they may have against

                 each other accruing prior to the entry of this Order.

            D. Lydia Security Monitoring, Inc. (“Lydia”).                Pursuant to the Agreed Order

                 Approving Administrative Expenses [Dkt. 113], Lydia has an allowed administrative

                 claim in the amount of $6,958.48. Lydia’s lease will be assumed and the cure amount

                 will be paid from the proceeds of the sale of Debtor’s assets, more specifically, the

                 $100,000 carve out set forth in the Amended Sale Procedures Order, or otherwise

                 through a plan of reorganization as approved by the Court. It is further

            ORDERED that the assignment of the Tenant Leases to the purchaser of Debtor’s real

   property assets will be subject to further order of this Court in conjunction with the anticipated

   Sale Hearing.

            It is so Ordered.

                                                     ###




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   Order prepared by

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                                                            EXHIBIT 1
Tenant                                              Tower       Suite      Start Date           Termination Date        Cure Amount
Charles Guitierrez PhD, Ltd, LLP                              1        301         1‐Feb‐2018 MTM                                      $0.00
CPR 123, Inc.                                                 2        120         1‐Feb‐2014              31‐Oct‐2023                 $0.00
Flow Therapy                                                  1        400           1‐Jul‐2022            30‐Jun‐2037                 $0.00
Genoa Healthcare LLC                                          1        150           1‐Jul‐2022            30‐Jun‐2037                 $0.00
Highpoint I SA Medical Chapel                                 1        100         1‐Aug‐2021               31‐Jul‐2120                $0.00
Highpoint II SA Medical Chapel                                2        100          1‐Jan‐2022            31‐Dec‐2121                  $0.00
Highpoint Internal Medicine                                   1        130           1‐Jul‐2022            30‐Jun‐2037                 $0.00
HPM Mgmt Office                                               2       1000           1‐Jul‐2022            30‐Jun‐2037                 $0.00
iKare Medical Management                                      1        900         1‐Apr‐2019               31‐Jul‐2031                $0.00
Integrated Medical Lab Group, LLC                             1        400         1‐Feb‐2019              31‐Jan‐2034                 $0.00
Lydia Security Monitoring, Inc.                               2        500          1‐Jan‐2016            31‐Mar‐2024              $6,958.48
Mittere Inc DBA Physical & Hydrotherapy                       1        150          1‐Jun‐2022           31‐May‐2037                   $0.00
Mittere Inc DBA Weightloss & Wellness Counselling             1       1000        1‐Mar‐2019              28‐Feb‐2028                  $0.00
North Point Cardiology Associates, LLC                        1        300         1‐Jun‐2021            31‐May‐2036                   $0.00
Office Ally, Inc.                                             2        800          1‐Jan‐2017              31‐Jul‐2023                $0.00
Qualfon Data Services Group*                                  2        200        1‐May‐2014              31‐Aug‐2024                  $0.00
Qualfon Data Services Group                                   2        210        1‐May‐2014              31‐Aug‐2024                  $0.00
Qualfon Data Services Group                                   2        300        1‐May‐2014              31‐Aug‐2024                  $0.00
Qualfon Data Services Group                                   2        400        1‐May‐2014              31‐Aug‐2024                  $0.00
SA High Performance Medical Integration                       2        600          1‐Jun‐2022           31‐May‐2037                   $0.00
SA Infrared Therapy                                           2        400        29‐Jun‐2021              28‐Jun‐2036                 $0.00
SA JV Headache Pain Clinic                                    1        500           1‐Jul‐2022            30‐Jun‐2037                 $0.00
SA Kinesiology, LLC                                           2        210          1‐Jun‐2021           31‐May‐2036                   $0.00
SA Professional Practitioners, LLC                            2        410         1‐Jun‐2021            31‐May‐2036                   $0.00
SA Physical Therapy, LLC                                      2        200         4‐Aug‐2021               3‐Aug‐2036                 $0.00
SA Radiology Associates                                       1 B150                1‐Jan‐2019            31‐Dec‐2033                  $0.00
SA Spine                                                      1        700         1‐Nov‐2016 MTM                                      $0.00
SA Sport Specific Training                                    2        610         1‐Jun‐2022            31‐May‐2037                   $0.00
San Antonio Catching Point Surgical & Clinic, LLC             1        200         1‐Feb‐2019              31‐Jan‐2034                 $0.00
San Antonio Preventative & Diagnostics                        1        401         1‐Nov‐2017              31‐Oct‐2026                 $0.00
Smile Brands, Inc.                                            2       1020         1‐Nov‐2017             29‐Feb‐2024                  $0.00
SWEGS Development                                             2        900          1‐Jun‐2022           31‐May‐2037                   $0.00
Texas Surgical Team, LLC                                      1        600          1‐Jun‐2021           31‐May‐2036                   $0.00
*Cure payments made in full via rent offset
